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                            UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TEXAS
                                 BEAUMONT DIVISION


UNITED STATES OF AMERICA                          §
                                                  §
                                                  §
VS.                                               §           CASE NO. 1:14-CR-102-3
                                                  §
                                                  §
DONALD JAMES BRATTON, JR.                         §



          FINDINGS OF FACT AND RECOMMENDATION ON GUILTY PLEA
               BEFORE THE UNITED STATES MAGISTRATE JUDGE

       By order of the District Court, this matter is referred to the undersigned United States

Magistrate Judge for administration of the guilty plea under Rule 11. Magistrate judges have the

statutory authority to conduct a felony guilty plea proceeding as an “additional duty” pursuant to 28

U.S.C. § 636(b)(3). United States v. Bolivar-Munoz, 313 F.3d 253, 255 (5th Cir. 2002).

       On January 6, 2015, this case came before the undersigned magistrate judge for entry of a

guilty plea by the Defendant, Donald James Bratton, Jr., to Count Ten of the Indictment. Count Ten

alleges that on or about October 1, 2012, in the Eastern District of Texas and elsewhere, Donald

James Bratton, Jr., defendant, being an inmate of a federal prison, namely the Federal Correctional

Complex, in Beaumont, Texas, aided and abetted by Donald James Bratton, Sr., defendant, did

knowingly and intentionally attempt to obtain a prohibited object, to wit: heroin, a narcotic drug, in

violation of 18 U.S.C. § 1791 (a)(2) and 2.

       The Defendant entered a plea of guilty to Count Ten of the Indictment into the record at the

hearing. After conducting the proceeding in the form and manner prescribed by Federal Rule of


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Criminal Procedure 11, the undersigned finds:

         a.        That the Defendant, after consultation with his attorney, has knowingly, freely and

voluntarily consented to the administration of the guilty plea in this case by a United States

Magistrate Judge in the Eastern District of Texas, subject to a final approval and imposition of

sentence by the District Court.

         b.        That the Defendant and the Government have entered into a plea agreement which

was disclosed and addressed in open court, entered into the record, and placed under seal. The

Defendant verified that he understood the terms of the plea agreement, agreed with the Government’s

summary of the plea agreement, and acknowledged that it was his signature on the plea agreement.

To the extent the plea agreement contains recommendations and requests pursuant to FED. R. CRIM.

P. 11 (c)(1)(B), the court advised the Defendant that he has no right to withdraw the plea if the Court

does not follow the particular recommendations or requests. To the extent that any or all of the terms

of the plea agreement are pursuant to Rule 11(c)(1)(A) or (C), the undersigned advised the Defendant

that he will have the opportunity to withdraw his plea of guilty should the Court not follow those

particular terms of the plea agreement.1

         c.        That the Defendant is fully competent and capable of entering an informed plea, that

the Defendant is aware of the nature of the charges and the consequences of the plea, and that the

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 “(3) Judicial Consideration of a Plea Agreement.
(A) To the extent the plea agreement is of the type specified in Rule 11(c)(1)(A) or (C), the court may accept the
agreement, reject it, or defer a decision until the court has reviewed the presentence report.
(B) To the extent the plea agreement is of the type specified in Rule 11(c)(1)(B), the court must advise the defendant
that the defendant has no right to withdraw the plea if the court does not follow the recommendation or request.
(4) Accepting a Plea Agreement. If the court accepts the plea agreement, it must inform the defendant that to the extent
the plea agreement is of the type specified in Rule 11(c)(1)(A) or (C), the agreed disposition will be included in the judgment.
(5) Rejecting a Plea Agreement. If the court rejects a plea agreement containing provisions of the type specified in Rule
11(c)(1)(A) or (C), the court must do the following on the record and in open court (or, for good cause, in camera):
(A) inform the parties that the court rejects the plea agreement;
(B) advise the defendant personally that the court is not required to follow the plea agreement and give the defendant
an opportunity to withdraw the plea; and
(C) advise the defendant personally that if the plea is not withdrawn, the court may dispose of the case less favorably
toward the defendant than the plea agreement contemplated.” FED. R. CRIM. P. 11(c)(3)-(5).

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plea of guilty is made freely, knowingly, and voluntarily. Upon addressing the Defendant personally

in open court, the undersigned determines that the Defendant’s plea is knowing and voluntary and

did not result from force, threats or promises (other than the promises set forth in the plea

agreement). See FED. R. CRIM. P. 11(b)(2).

        d.      That the Defendant’s knowing and voluntary plea is supported by an independent

factual basis establishing each of the essential elements of the offense and the Defendant realizes that

his conduct falls within the definition of the crimes charged under 18 U.S.C. § 1791 (a)(2).

                                  STATEMENT OF REASONS

        As factual support for the Defendant’s guilty plea, the Government presented a factual basis.

See Factual Basis and Stipulation. In support, the Government would prove that Bratton is the same

person charged in the Indictment and that the events described in the Indictment occurred in the

Eastern District of Texas and elsewhere. The Government would also have proven, beyond a

reasonable doubt, each and every essential element of the offense as alleged in Count Ten of the

Indictment through the testimony of witnesses, including expert witnesses, and admissible exhibits.

In support of the Defendant’s plea, the undersigned incorporates the proffer of evidence described

in detail in the factual basis and stipulation filed in support of the plea agreement, and the

Defendant’s admissions made in open court in response to the undersigned’s further inquiry into the

factual basis and stipulation.

        The Defendant agreed with and stipulated to the evidence presented in the factual basis.

Counsel for the Defendant and the Government attested to the Defendant’s competency and

capability to enter an informed plea of guilty. The Defendant agreed with the evidence presented

by the Government and personally testified that he was entering the guilty plea knowingly, freely and

voluntarily.


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                               RECOMMENDED DISPOSITION

       IT IS THEREFORE the recommendation of the undersigned United States Magistrate

Judge that the District Court accept the Guilty Plea of the Defendant, which the undersigned

determines to be supported by an independent factual basis establishing each of the essential

elements of the offense charged in Count Ten of the Indictment. Accordingly, it is further

recommended that the District Court finally adjudge the Defendant, Donald James Bratton, Jr.,

guilty of the charged offenses under 18 U.S.C. § 1791(a)(2) (Attempt to Obtain a Prohibited Object

(Heroin)).

       The District Court should defer its decision to accept or reject the plea agreement until there

has been an opportunity to review the presentence report. If the plea agreement is rejected and the

Defendant still persists in his guilty plea, the disposition of the case may be less favorable to the

Defendant than that contemplated by the plea agreement. The Defendant is ordered to report to the

United States Probation Department for the preparation of a presentence report. The Defendant has

the right to allocute before the District Court before imposition of sentence.

                                          OBJECTIONS

       Pursuant to 28 U.S.C. § 636(b)(1)(c), each party to this action has the right to file objections

to this report and recommendation. Objections to this report must: (1) be in writing, (2) specifically

identify those findings or recommendations to which the party objects, and (3) be served and filed

within fourteen (14) days after being served with a copy of this report. See 28 U.S.C. § 636(b)(1)(c)

(2009); Fed. R. Civ. P. 72(b)(2). A party who objects to this report is entitled to a de novo

determination by the United States District Judge of those proposed findings and recommendations

to which a specific objection is timely made. See 28 U.S.C. § 636(b)(1) (2009); Fed R. Civ. P.

72(b)(3).


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       A party’s failure to file specific, written objections to the proposed findings of fact and

conclusions of law contained in this report, within fourteen (14) days of being served with a copy

of this report, bars that party from: (1) entitlement to de novo review by the United States District

Judge of the findings of fact and conclusions of law, see Rodriguez v. Bowen, 857 F.2d 275, 276–77

(5th Cir. 1988), and (2) appellate review, except on grounds of plain error, of any such findings of

fact and conclusions of law accepted by the United States District Judge, see Douglass v. United

Servs. Auto. Ass’n, 79 F.3d 1415, at 1428–29 (5th Cir. 1996) (en banc).


       SIGNED this 7th day of January, 2015.




                                                       _________________________
                                                       Zack Hawthorn
                                                       United States Magistrate Judge




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